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                     IN THE UNITED STATES DISTR ICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVIS ION

MARK WHEELER,                                        )
                                                     )
                      Plaintiff,                     )
                                                     )      Case No. 18 CV 582
               v.                                    )
                                                     )      Judge Robert W. Gettleman
THE FITNESS FORMULA, LTD., and                       )
LAKEVIEW FITNESS EAST, LLC,                          )
                                                     )
                      Defendants.                    )

                                            ORDER

       Plaintiff Mark Wheeler’s debit card was charged assorted gym membership fees by

defendants The Fitness Formula, Ltd., and Lakeview Fitness East, LLC. Plaintiff filed a

putative class action, bringing claims under the Electronic Fund Transfer Act (“EFTA”), 15

U.S.C. §§ 1693e(b); 1693l, and under the Illinois Consumer Fraud Act, 815 ILCS 505/2.

Defendants moved for partial summary judgment on the EFTA claim, arguing that they were not

liable for violating section 1693e(b). Assuming without deciding that defendants violated

section 1693e(b), the court granted partial summary judgment as to six duplicate charges because

those charges were unintentional and the result of a bona fide error, despite having maintained

procedures reasonably adapted to avoid that error. Wheeler v. Fitness Formula, Ltd., No. 18 CV

582, Doc. 59 at 5–7, 2018 WL 5981849, at *3 (N.D. Ill. Nov. 14, 2018). The court, however,

“express[ed] no opinion on whether any other charges violated section 1693e(b),” Doc. 59 at 2

n.1, 2018 WL 5981849 at *1 n.1, and asked the parties to identify plaintiff’s remaining claims,

Doc. 59 at 7, 2018 WL 5981849 at *3.
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       Before the court is plaintiff’s motion to clarify the court’s opinion (Doc. 60), on which

the court ordered and received briefing. In his motion, plaintiff asks the court two questions:

       (1) Of the eight transactions, on which transactions or parts of transactions did the court

           grant partial summary judgment?

       (2) Does the court’s ruling apply only to charges for double billed membership fees, or

           also to charges which occurred after the error was corrected in August, 2017?

       As for the first question, plaintiff remains free to argue that charges other than the six

double-billing errors violated section 1693e(b). The court granted partial summary judgment “to

the extent that plaintiff seeks to hold defendants liable under section 1693e(b) of the EFTA for

the six erroneous charges . . . .” Doc. 59 at 7, 2018 WL 5981849 at *3. Those charges occurred

in 2017 on the first days of March, April, May, June, July, and August. Consistent with the

court’s ruling, defendants are not liable for those charges. The court, however, expressly

declined to rule “on whether any other charges violated section 1693e(b).” Doc. 59 at 2 n.1,

2018 WL 5981849 at *1 n.1. Plaintiff therefore remains free to argue that other charges violated

section 1693e(b).

       As for the second question, because the court granted partial summary judgment only as

to the “six erroneous charges,” the court’s ruling does not apply to charges after the billing error

was corrected in August 2017.

       In their briefs, the parties inexplicably argued numerous issues that were unrelated to

“clarifying the court’s opinion,” including: whether other charges were “varying” under

1693e(b); the merits of claims that were not part of defendants’ motion for summary judgment;

and whether plaintiffs have standing under Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016).




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Those arguments are not properly before the court, and the parties should save them for briefing

on summary judgment.

                                        CONCLUSION

       Plaintiff Mark Wheeler’s motion to clarify (Doc. 60) the court’s November 14, 2018

opinion is granted: plaintiff may argue that defendants are liable under section 1693e(b) of the

EFTA for, (1) charges other than the six double billing errors, as discussed, and (2) charges after

the billing error was corrected in August 2017. Defendants The Fitness Formula, Ltd., and

Lakeview Fitness East, LLC’s motion to file a sur-reply (Doc. 70) is granted. This case is set for

a report on status on April 17, 2019, at 9:10 a.m.

ENTER:         April 1, 2019



                                              __________________________________________
                                              Robert W. Gettleman
                                              United States District Judge




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